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IN THE UNITED sTATEs DIsTRIcT coURT m F-’Y~.[ _

FoR THE wEsTERN DISTRICT oF TENNESSEE 05 ~ ""'~D
wEsTERN DIvIsIoN JUN~;? AH 6.5{

 

JAMES STEPHEN BROWN,
Plaintiff,
NO. 02-2791 Ml/An

KEITH T. SIEBERT,

vvv\-r`rvv\.r\_r

Defendant.

 

ORDER OF CORRECTION

 

The Clerk is instructed to replace page 3 of the Ccurt's May
26, 2005, Order Denying Defendant's Moticn for Judqment as a
Matter cf Law and MOtion for New Trial (Dccket No. 103), with the

document attached as Appendix A to this Order.
so 0RDERED this OQ day af May, 2005.

_@W“VQ

J N P. MCCALLA
U ITED STATES DISTRICT JUDGE

 

Tf is document entered on the do

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APPENDIX A

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The Jury originally awarded $0.00 in damages regarding
Plaintiff's § 1983 claim. (Jury Verdict Form, Question No. 3.)3
The Court subsequently provided the Jury with a supplemental
instruction with respect to nominal damages and instructed the
Jury to continue its deliberations.q The Jury then returned a
supplemental verdict awarding Plaintiff nominal damages of $l.OO
against Defendant Officer Siebert on Plaintiff’s § 1983 claim.
(Supp'l Jury Verdict Form (Docket No. 87).)

Defendant moves for judgment as a matter of law pursuant to
Federal Rule of Civil Procedure 50(b), or, in the alternative,

for a new trial pursuant to Rule 59.5 Specifically, Defendant

 

3 Specifically, in response to the question “[u]nder the
laws given to you in these instructions, state the amount of
compensatory damagesr if any, that plaintiff JAMES STEPHEN BROWN
should be awarded from the defendant KEITH T. SIEBERT,” the Jury
responded as follows:

Medical Expenses: $O
Lost Wages: $O
Compensatory Damages(other

than medical expenses): $O

(Jury Verdict Form, Question No. 3.)

‘ The Court's supplemental instruction was as follows:

If you return a verdict for the Plaintiff, but find
that the Plaintiff has failed to prove by a
preponderance of the evidence that he suffered any
actual damages, then you must return an award of
damages in some nominal or token amount not to exceed
the sum of one dollar.

(February lS, 2005, Supp'l Jury Instruction (Docket No. lOl.)

5 After the close of evidence on February 16, 2005,
Defendant Siebert orally moved for judgment as a matter of law
pursuant to Rule 50(a). The Court denied his motion. Defendant
Siebert properly renewed his motion, pursuant to Rule 50(b),
after the Court entered judgment. §§e Fed. R. Civ. P. 50(b).

3

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 105 in
case 2:02-CV-02791 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

